            Case 1:16-cv-06284-AT Document 382 Filed 01/07/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

DR. ALAN SACERDOTE et al.,
                                                         1:16-cv-06284-RWS
                               Plaintiffs,
v.

NEW YORK UNIVERSITY,                                     ECF Case

                               Defendant.                DECLARATION OF JEROME J.
                                                         SCHLICHTER

I, Jerome J. Schlichter, hereby declare as follows:

       1.      I am the founder and managing partner of the law firm of Schlichter, Bogard &

Denton, LLP, counsel for Plaintiffs in this case. I am familiar with the facts set forth below and

able to testify to them. I respectfully submit this Declaration in support of Plaintiffs’ Reply in

Support of Plaintiffs’ Motion to Vacate Judgment and for A New Trial.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of relevant portions of the

trial transcript, Sacerdote et al. v. New York University.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of the

Honorable F.A. Little.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of the relevant portions

Confirmation Hearings on Federal Appointments Before the S. Comm. on the Judiciary, 112th

Cong. 127 (2011) at 160.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of the Declaration of the

Honorable T. Lewis.



Dated: January 7, 2019                                /s/ Jerome J. Schlichter
                                                      Jerome J. Schlichter
